              Case:20-17988-EEB
     Fill in this                              Doc#:1
                  information to identify your case:         Filed:12/16/20             Entered:12/16/20 19:34:12 Page1 of 4
     United States Bankruptcy Court for the:

     District of Colorado
     ____________________      District of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
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                                                                  Chapter 11
                                                                  Chapter 12
                                                                                                                                          &KHFNLIWKLVLVDQ
                                                                 Chapter 13                                                                 DPHQGHGILOLQJ




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QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH



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            Case:20-17988-EEB Doc#:1 Filed:12/16/20                                  Entered:12/16/20 19:34:12 Page2 of 4

                The Newell Mowing Co.
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           Case:20-17988-EEB Doc#:1 Filed:12/16/20                                      Entered:12/16/20 19:34:12 Page3 of 4

              The Newell Mowing Co.
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